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                                                                                         Form 4-1

UNITED STATES COURT OF INTERNATIONAL TRADE                                            FORM 4
 JinkoSolar (U.S.) Inc. and Jinko Solar (U.S.) Industries
 Inc.,

         Plaintiffs,

 v.                                                          SUMMONS          No. 22-00241

 UNITED STATES, UNITED STATES CUSTOMS
 AND BORDER PROTECTION, and CHRIS
 MAGNUS, in his Official Capacity as Commissioner
 of United States Customs and Border Protection,

         Defendants.


TO:    The Above-Named Defendants:

       You are hereby summoned and required to serve on plaintiff’s attorney, whose name and
address are set out below, an answer to the complaint which is herewith served on you, within
21* days after service of this summons on you, exclusive of the day of service. If you fail to do
so, judgment by default will be taken against you for the relief demanded in the complaint.

                                                      /s/ Mario Toscano
                                                      Clerk of the Court



                                         Name, Address, Telephone Number and
                                         E-mail Address of Plaintiff’s Attorney
   /s/ Richard A. Mojica                 Richard A. Mojica
 Signature of Plaintiff’s Attorney       Mary H. Mikhaeel
                                         MILLER & CHEVALIER CHARTERED
                                         900 Sixteenth Street NW
                                         Washington, D.C. 20006
 Date: August 17, 2022                   Tel. (202) 626-5800
                                         Email: rmojica@milchev.com
                                         Email: mmikhaeel@milchev.com

* If the United States or an officer or agency thereof is a defendant, the time to be inserted as to
it is 60 days, except that in an action described in 28 U.S.C. § 1581(f) the time to be inserted is
14 days.

(As amended Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec.
7, 2010, eff. Jan. 1, 2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017, eff. Oct. 25,
2017.)
